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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CONNECTICUT BANK OF

CMS NOMECO CONGO INC.,

Garnishee.

)

COMMERCE, )
)

Plaintiff, )

)

Vv. ) Civil Action No. 05-762 SLR

)

THE REPUBLIC OF CONGO, )
)

Defendant; )

)

)

)

)

GARNISHEE CMS NOMECO’S MOTION FOR
ORDER AWARDING ATTORNEY’S FEES AND OTHER COSTS

Garnishee CMS Nomeco Congo Inc. (“CMS Nomeco”) hereby moves for an
Order Awarding Attorney’s Fees and Other Costs.

For the reasons set out in the accompanying Opening Brief and in the supporting
declarations and exhibits thereto, CMS Nomeco requests that the Court order Plaintiff Af-Cap to
pay to CMS Nomeco the sum of $495,995.75 in attorney’s fees incurred to date (the total of the
fees referenced in the Lipe, Katz, and Grant Declarations attached hereto), the sum of $28,920.97
in expenses incurred to date, additional fees and expenses that may be incurred by CMS Nomeco
in litigating its entitlement to fees and expenses (as may be shown in a supplemental application
to be filed with the Court), and a conditional award of attorney’s fees and expenses in the event
of an unsuccessful appeal of the fee award, in the amount of $50,000. CMS Nomeco also

requests such other relief to which it may be entitled.
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Dated: March 23, 2007

Respectfully submitted,

/s/ M. Duncan Grant

 

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